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  24
                           UNITED STATES DISTRICT COURT
  25
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  26
     MARTIN SHEEN, et al.,                CASE NO. CV 12-1468 SJO (AJW)
  27
                 Plaintiffs,              COURT ORDER APPROVING
  28                                      STIPULATION TO DISMISS
      288449.1 11640-22002
                             [PROPOSED] COURT ORDER APPROVING STIPULATION TO
                                  DISMISS ACTION AND RETAIN JURISDICTION
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    1            vs.                                         ACTION AND RETAIN
                                                             JURISDICTION
    2 SCREEN ACTORS GUILD, et al.,                           FRCP 41(a)(1)(A)(ii)
    3                      Defendants.
    4
                 Good cause having been shown in the parties’ stipulation,
    5
                 IT IS ORDERED that
    6
                 1.        In accordance with the parties’ Mutual Release and Settlement
    7
        Agreement and stipulation to dismiss pursuant to Rule 41(a)(1)(A)(ii) of the Federal
    8
        Rules of Civil Procedure, this entire action is dismissed with prejudice as to all
    9
        Plaintiffs as against all Defendants. All pretrial dates and orders are hereby vacated.
  10
                 2.        The Court shall retain jurisdiction of this action for purposes of
  11
        resolving any disputes that may arise in the future regarding the settlement
  12
        agreement, its terms or the enforcement thereof.
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  15
        DATED: May 20, 2012
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  18                                                                 S. JAMES OTERO
  19                                                          United States District Court Judge
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        288449.1 11640-22002
                                                         2
                                [PROPOSED] COURT ORDER APPROVING STIPULATION TO
                                     DISMISS ACTION AND RETAIN JURISDICTION
